









Petition for Writ of Mandamus Denied and Memorandum Opinion filed
October 30, 2003









Petition for Writ of Mandamus Denied and Memorandum
Opinion filed October 30, 2003.

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-03-01151-CV

____________

&nbsp;

IN RE JAMES EARL WILLIAMS, Relator

&nbsp;

&nbsp;



&nbsp;

ORIGINAL
PROCEEDING

WRIT
OF MANDAMUS

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O
P I N I O N

On October 14, 2003, relator
filed a petition for writ of mandamus in this Court.&nbsp; See Tex.
Gov=t. Code Ann. ' 22.221 (Vernon Supp. 2003); see
also Tex. R. App. P. 52.&nbsp; 

We deny relator=s petition for writ of mandamus. 

&nbsp;

PER CURIAM

&nbsp;

&nbsp;

Petition Denied
and Memorandum Opinion filed October 30, 2003.

Panel consists of
Justices Yates, Hudson, and Fowler.





